                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

AON PLC, a United Kingdom public limited          )
company, and AON GROUP, INC., a                   )
Maryland corporation,                             )
                                                  )
               Plaintiffs,                        )
                                                  )           No. 16-cv-01924
       v.                                         )
                                                  )           Judge Andrea R. Wood
MICHAEL HEFFERNAN, an individual, and             )
ALLIANT INSURANCE SERVICES, INC.,                 )
a Delaware Corporation,                           )
                                                  )
               Defendants.                        )

                                  MEMORANDUM OPINION

       Defendant Michael Heffernan left his employment with an affiliate of Plaintiffs Aon plc

and Aon Group Inc. (together, “Aon” or “Plaintiffs”) to work for one of their competitors,

Defendant Alliant Insurance Services, Inc. (“Alliant”). According to Plaintiffs, Heffernan

solicited Aon clients and employees to start a competing Alliant office near his former workplace

in San Jose, California and also misappropriated Aon trade secrets to assist in building his

business there. Plaintiffs claim that Heffernan’s activities breached his fiduciary obligations and

the terms of his incentive compensation agreements. They further assert that Alliant aided and

abetted Heffernan’s misconduct. Much of the activity at issue took place in California, and so

Defendants filed motions seeking to transfer this action to the Northern District of California and

a ruling that California law governs this dispute. Their motions were denied in both respects.

Defendants now seek reconsideration of both the venue and choice-of-law and venue issues. In

addition, they contend that the significance of the choice-of-law issue justifies an early and

definitive ruling and thus should be certified for interlocutory appeal. For the reasons detailed
below, Defendants’ motion for reconsideration is denied; their motion for a certificate of

appealability is granted.

                                          BACKGROUND

        At the commencement of this action, Plaintiffs sought a temporary restraining order and a

preliminary injunction prohibiting Defendants from using Plaintiffs’ confidential information

and soliciting their employees and customers, in violation of the incentive agreements between

Plaintiffs and Heffernan. The Court granted Plaintiffs’ request for a temporary restraining order.

From the outset, the parties vigorously disputed whether their claims and defenses should be

governed by Illinois law or California law, with the Court recognizing that the differences

between the two jurisdictions, especially regarding the extent of permissible restrictive

employment covenants, were “likely determinative of whether and to what extent Plaintiffs will

succeed on their claims.” (2/10/2016 Order at 5, Dkt. No. 28.) For that reason, the parties agreed

to conduct discovery and brief the choice-of-law question before proceeding to the merits of

Plaintiff’s request for a preliminary injunction. During the same time period, Defendants filed

their motion to dismiss this action or, alternatively, to transfer it to the Northern District of

California.

        Those two issues—choice of law and venue—were decided by a Memorandum Opinion

and Order issued by the Court on February 6, 2017. (Dkt. Nos. 126, 127.) The Court ruled that

the choice-of-law provisions in the Aon-Heffernan incentive agreements control such that

Illinois law governs claims arising under those agreements, and further that, in the absence of

any demonstrated difference between Illinois law and California law, no choice-of-law analysis

is necessary with respect to Plaintiff’s common law tort claim and thus Illinois law governs that

claim as well. The Court also denied Defendants’ motion to dismiss or transfer. Defendants now



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ask the Court to reconsider those determinations or, alternatively, to issue a certificate of

appealability for the choice-of-law issue.

                                             DISCUSSION

       A motion for reconsideration is properly brought to correct manifest errors of law or fact

or to present newly discovered evidence. Caisse Nationale de Credit Agricole v. CBI Indus., Inc.,

90 F.3d 1264, 1269 (7th Cir. 1996). Disposition of the motion is left to the Court’s discretion. Id.

       Defendants contend that the Court manifestly erred in giving effect to the choice-of-law

provision in the Aon-Heffernan stock unit agreements without first conducting the analysis

outlined in the Restatement (Second) of Conflict of Laws (“Restatement”) § 187(2). That

provision of the Restatement states that the law chosen by the parties to a contract will be applied

even if the issue is one that the parties could not have resolved by an explicit provision in their

agreement directed to that issue unless either (a) the chosen state law has no substantial

relationship to the parties or the transaction and there is no other reasonable basis for the parties’

choice; or (b) application of the law of the chosen state would be contrary to a fundamental

policy of a state that has a materially greater interest than the chosen state and that would be the

state of the applicable law in the absence of an effective choice by the parties.

       Defendants contend that applying Illinois law in this case would violate a fundamental

California policy in favor of allowing employee movement and that California has a materially

greater interest in this dispute than Illinois. They argue that “[u]nder no circumstances can the

language of a contractual choice-of-law provision obviate the need to consider whether the

forum state’s choice of law rules permit the enforcement of the contractual provision in the first

place.” (Defs. Memo. at 7, Dkt. No. 133.)




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       But the very same result that Defendants claim can occur “under no circumstances” has

been reached based upon application of contractual language such as that found in the

agreements at issue here. In IFC Credit Corp. v. Rieker Shoe Corp., 881 N.E.2d 382 (Ill. App.

Ct. 2007), for example, an Illinois Appellate Court rejected the argument that a conflict-of-laws

analysis under Restatement principles should override the parties’ contractual choice of law. Id.

at 395. The Appellate Court reached its conclusion explicitly because the contract at issue there,

like the agreements here, dictated application of the law of the state where the plaintiff’s

principal offices were located “without regard to such State’s choice of law considerations.” Id.

Similarly, in Dancor Construction, Inc. v. FXR Construction, Inc., 64 N.E.3d 796 (Ill. App. Ct.

2016), an Illinois Appellate Court, in distinguishing Rieker Shoe, confirmed that Illinois law first

asks whether the parties have contractually disavowed the application of conflict-of-laws

principles before embarking on that analysis. Id. at 812. The court in Dancor applied conflict-of-

law principles only after finding no such disavowal. As that court explained: “Unlike in Rieker,

there is no clause requiring that we ignore Illinois choice-of-law rules. Therefore, to examine

whether New York law applies to interpreting the forum-selection clause, we turn to Illinois’s

choice-of-law rules.” Id.

       Allowing the parties to choose the law that governs their contract (and to prevent that

choice from being vetoed or overridden through a conflicts analysis) is consistent with Illinois’s

long-standing respect for the right of contracting parties to choose the law that governs them.

“Generally, the law applicable to a contract is that which the parties intended, assuming such an

intent. When that intent is expressed, it should be followed.” Hofeld v. Nationwide Life Ins. Co,,

322 N.E.2d 454, 458 (Ill. 1975). The approach advocated by Defendants here—allowing the




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parties’ choice to have effect only if it is not first precluded by a conflicts analysis—affords the

parties’ choice no such respect.

        Defendants argue that the Restatement has been adopted “wholesale” by Illinois and that

it “is part of Illinois law.” (Defs. Memo. at 10, Dkt. No. 133.) But while several Illinois courts

have used such terminology in the course of assuming without analysis the applicability of the

Restatement, several others have been more restrained in discussing the Restatement’s impact on

the law of the state, describing the Restatement as guiding, supporting, and helping the analysis

of issues rather than dictating their resolution. See, e.g., Morris B. Chapman & Assocs., Ltd. v.

Kitzman, 739 N.E.2d 1263, 1270–71 (Ill. 2000); Donaldson v. Fluor Eng’rs, Inc., 523 N.E.2d

1113, 1115 (Ill. App. Ct. 1988). The role of the Restatement in Illinois jurisprudence has also

been described in more definitive terms, with the Illinois Supreme Court explaining: “[T]he

analysis contained in the Restatement is a guide for courts; it is not black-letter law to be upheld

against all other considerations.” Brown & Brown, Inc. v. Mudron, 887 N.E.2d 437, 439 (Ill.

2008). Significantly for present purposes, Defendants cite no Illinois Supreme Court or Seventh

Circuit authority that employed the Restatement’s conflicts principles to override a contractual

choice-of-law provision where that provision included language expressly rejecting the

application of such principles. The Court accordingly adheres to its conclusion that Illinois courts

would not employ Restatement § 187(2) to invalidate the Illinois choice-of-law provisions in the

Aon-Heffernan agreements.

        Further, even if Illinois law required a Restatement-style conflicts analysis as an initial

matter, it is not clear that the greater-interest test of § 187(2) would apply. The section’s first

subsection, § 187(1), provides that “[t]he law of the state chosen by the parties to govern their

contractual rights and duties will be applied if the particular issue is one which the parties could



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have resolved by an explicit provision in their agreement directed to that issue.” Section 187(2)

does not apply if the subject of the parties’ dispute could have been addressed by contract.

Stromberg Metal Works, Inc. v. Press Mech., Inc., 77 F.3d 928, 933 (7th Cir. 1996). Here, the

parties were free to agree that the parameters of Heffernan’s restrictive covenant would be those

allowed by the law of Illinois rather than that of California, and they were similarly free to

protect that agreement as they did: by waiving the impact of any conflict-of-law principles and

agreeing that their disputes would be resolved by a court in Illinois.

        In sum, the Court is unpersuaded by Defendants’ contention that the decision to apply

Illinois law to Plaintiffs’ claims constituted manifest error. The Court also rejects Defendants

argument that the Court erroneously weighed the factors to be considered in the analysis of the

motion for a transfer of venue—as that argument merely rehashes positions previously

considered and rejected by the Court and thus provides no basis to disturb the ruling denying

Defendants’ motion. See Caisse Nationale, 90 F.3d at 1270.

        Defendants have also asked that this Court certify the choice-of-law question for

interlocutory appeal. Such appeals are appropriate under 28 U.S.C. § 1292(b) when (1) the

appeal presents a question of law; (2) it is controlling; (3) it is contestable; (4) its resolution will

expedite the resolution of the litigation; and (5) the petition to appeal is filed in the district court

within a reasonable amount of time after entry of the order sought to be appealed. Boim v.

Quranic Literacy Inst. & Holy Land Found. For Relief and Dev., 291 F.3d 1000, 1007 (7th Cir.

2002). The Court finds that each factor is present here.

        The extent to which Restatement § 187(2) mandates a conflict-of-laws analysis under

Illinois law, even in the presence of a contractual choice-of-law provision that precludes

reference to conflicts analysis, is a question of law. So too is the question of whether, if a



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Restatement conflicts analysis must be employed despite the contractual provision to the

contrary, the parties’ capacity to address the issues here by agreement invokes Restatement

§ 187(1) and obviates any basis for reference to § 187(2). The question of whether the Aon-

Heffernan agreements are governed by Illinois law or California law is controlling as to the

validity of the restrictive covenants therein because of a California statute that has no Illinois

analogue: § 16600 of California’s Business & Professional Code, which invalidates contracts by

which anyone is restrained from engaging in a lawful profession, trade, or business of any kind.

Plaintiffs’ claims regarding the solicitation of their customers and employees are presumably

largely determined by whether or not the statute applies to this action.

        The proper role of the Restatement in the present case is contestable at least in part

because of the lack of definitive engagement on the issue by the Illinois Supreme Court. As

discussed above, application of the Restatement’s provisions has been presumed by courts

interpreting Illinois law, but no analysis has addressed its relevance in view of a “no conflict

analysis” contract clause. The resolution of the issue will expedite the resolution of this action in

that it will advance the determination of the validity of Plaintiffs’ contractual claims. And finally,

Defendants brought their petition within a reasonable time following the Court’s February 6,

2017 order (Dkt. No. 127): the petition was filed 15 days later, on February 21, 2017 (Dkt. No.

135).

        The Court parts ways with Defendants as to the formulation of the issues to be certified,

however. The question is not whether “Section 187 is one of Illinois’s choice of law rules.”

(Defs. Mot. at 5, Dkt. No. 135). Rather, the proper inquiries are (1) whether Illinois law

mandates a conflicts of laws analysis under Restatement § 187(2) even when the choice-of-law

provision in the agreement at issue expressly precludes reference to such analysis, and (2) if the



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Restatement does apply, whether the parties’ capacity to agree to Illinois law and the restrictive

employment covenants permitted thereunder invoked the principles of § 187(1) and obviated any

need for reference to § 187(2).

                                         CONCLUSION

       Accordingly, for the reasons stated above as well as those previously explained in the

Court’s Memorandum Opinion and Order dated February 6, 2017 (Dkt. No. 127), Defendants’

motion for reconsideration (Dkt. No. 132) is denied. Defendants’ motion for certification of the

February 6, 2017 ruling for interlocutory appeal (Dkt. No. 135) is granted, in that the Court

certifies the following questions for appellate review:

       1.      Whether Illinois law mandates a conflicts of laws analysis under Restatement

§ 187(2) even when the choice of law provision in the agreement at issue expressly precludes

reference to such analysis; and

       2.      If the Restatement does apply, whether the parties’ capacity to agree to Illinois

law and the restrictive employment covenants permitted thereunder invoked the principles of

Restatement § 187(1) and obviated any need for reference to § 187(2).



                                                      ENTERED:




Dated: April 20, 2017                                 __________________________
                                                      Andrea R. Wood
                                                      United States District Judge




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